  Case 16-30176      Doc 47   Filed 09/26/18 Entered 09/26/18 15:03:08             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     16-30176
OLIVIA C BINDER                            )
 PHILLIP D BINDER JR                       )               Chapter: 13
                                           )
                                                           Honorable Jack Schmetterer
                                           )
                                           )
              Debtor(s)                    )

             ORDER DISMISSING FOR FAILURE TO MAKE PLAN PAYMENTS

       This matter coming before the court on Trustee's Motion to Dismiss, due notice having been
given and the court having heard the facts presented;


IT IS THEREFORE ORDERED that this case is dismissed on the Trustee's motion for material default
by the debtor with respect to a term of a confirmed plan, pursuant to § 1307 (c) (6).




                                                        Enter:


                                                                 Honorable Jack B. Schmetterer
Dated: September 26, 2018                                        United States Bankruptcy Judge

 Prepared by:
